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8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
                                    )   No. 2:10-CR-255 TLN
11   UNITED STATES OF AMERICA,      )
                                    )   STIPULATION AND ORDER CONTINUING
12             Plaintiff,           )   HEARING ON DEFENDANT KIEDOCK
                                    )   KIM’S MOTION TO DISMISS CERTAIN
13        v.                        )   COUNTS OF THE INDICTMENT,
                                    )   AMENDING THE BRIEFING SCHEDULE,
14   FRENCH GULCH NEVADA MINING     )   AND EXCLUDING TIME UNDER THE
     CORPORATION, et al.,           )   SPEEDY TRIAL ACT
15                                  )
               Defendants.          )
16                                  )   Hon. Troy L. Nunley
                                    )
17
18        Whereas, the parties have discussed some of the possible
19   sentencing factors and enhancements that may apply in this case,
20   but still desire additional time to attempt to negotiate a
21   resolution of this case without the necessity of the Court
22   considering and resolving defendant Kiedock Kim’s motion to
23   dismiss certain counts of the Indictment, and
24        Whereas, the United States desires additional time to
25   respond to Kim’s motion, in the event that the parties are unable
26   to settle this case,
27        It is hereby stipulated by and between plaintiff United
28   States of America, on the one hand, and Kim, on the other hand,

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1    through their respective undersigned counsel that:            (1) the
2    presently set August 1, 2013, hearing on Kim’s motion to dismiss
3    certain counts of the Indictment shall be continued to October 3,
4    2013, at 9:30 a.m.; (2) the United States’ response to Kim’s
5    motion shall be filed by September 12, 2013; and (3) Kim’s reply,
6    if any, shall be filed by September 26, 2013.           This continuance
7    is requested to provide the parties time to attempt to negotiate
8    a pretrial resolution of the case and, in the event the case is
9    not resolved, provide the United States additional time to
10   respond to Kim’s dismissal motion.         The parties have made offers
11   and counteroffers to resolve the case and, while the parties are
12   moving closer to resolution of the case, additional time is need
13   to more fully explore a settlement resolution as there are
14   sentencing guidelines issues that remain unresolved.            The parties
15   further stipulate and agree that computation of time within which
16   the trial of this matter must be commenced shall continue to be
17   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
18   Kim’s pending motion to dismiss.
19   DATED:    July 11, 2013             /s/ Malcolm S. Segal
                                         ______________________________
20                                       MALCOLM S. SEGAL
                                         Attorney for Defendant
21                                       Kiedock Kim
22
     Dated:    July 11, 2013             BENJAMIN B. WAGNER
23                                       UNITED STATES ATTORNEY
24                                       /s/ Samuel Wong
25                                 By:   SAMUEL WONG
                                         Assistant U.S. Attorney
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1                                        ORDER
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3         The Court having received, read, and considered the
4    stipulation of the parties, and good cause appearing therefrom,
5    adopts the stipulation of the parties in its entirety as its
6    order.    It is ordered that:      (1) the presently set August 1,
7    2013, hearing on Kim’s motion to dismiss certain counts of the
8    Indictment shall be continued to October 3, 2013, at 9:30 a.m.;
9    (2) the United States’ response to Kim’s motion shall be filed by
10   September 12, 2013; and (3) Kim’s reply, if any, shall be filed
11   by September 26, 2013.
12        It is further ordered that computation of time within which
13   the trial of this matter must be commenced shall continue to be
14   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
15   Kim’s pending motion to dismiss through the conclusion of the
16   hearing on, or other prompt disposition of, such motion.
17
18   Dated:      July 16, 2013
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22                                                  Troy L. Nunley
                                                    United States District Judge
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